Case 2:18-cv-16509-MCA-LDW Document 64 Filed 06/30/20 Page 1 of 1 PageID: 293




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


  RESHMA ABELL,                                      Civil Action No.

                 Plaintiff,                          18-16509 (MCA) (LDW)

  v.                                                 AMENDED SCHEDULING ORDER

  PACIRA PHARMACEUTICALS INC.,
  et al.,

                 Defendants.


       THIS MATTER having come before the Court by way of a June 29, 2020 telephone

conference before the undersigned, and for good cause shown,

       IT IS, on this 30th day of June 2020, ORDERED that the Pretrial Scheduling Order

entered October 28, 2019 (ECF No. 51), as subsequently amended, is hereby further amended as

follows:

   1. Fact discovery is extended FOR A FINAL TIME through September 30, 2020.

   2. The parties shall appear for a telephonic status conference before the undersigned on

       September 15, 2020 at 4:00 p.m. The parties shall submit concise status letters to the

       Court no later than three business days in advance of the conference. Plaintiff’s counsel

       shall initiate the call to (973) 645-3574 once representatives for all parties are on the line.


                                                 s/ Leda Dunn Wettre
                                                Hon. Leda Dunn Wettre
                                                United States Magistrate Judge
